                   Case 18-50946      Doc 9    Filed 09/07/18     Page 1 of 20



                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            WINSTON-SALEM DIVISION


In re:                                               )      Chapter 11
                                                     )
Product Quest Manufacturing, LLC, et al.,1           )      Case No. 18-50946
                                                     )      (Joint Administration Pending)
                                                     )
                Debtors.                             )
                                                     )

         DEBTORS’ EMERGENCY MOTION FOR AUTHORITY TO (A) MAINTAIN
         EXISTING BANK ACCOUNTS AND CONTINUE USE OF EXISTING CASH
         MANAGEMENT SYSTEM, (B) CONTINUE USE OF EXISTING BUSINESS
           FORMS, AND (C) CONTINUE EXISTING INVESTMENT PRACTICES

         Ei LLC (EI), Product Quest Manufacturing, LLC (“PQM”), Scherer Labs International,

LLC (“Scherer”), Product Quest Logistics, LLC (“PQL”), JBTRS, L.L.C. (“JBTRS”), and PQ

Real Estate LLC (“PQ Real Estate”, together with EI, PQM, Scherer, PQL, and JBTRS,

collectively, the “Debtors”) file this Emergency Motion For Authority to (A) Maintain Existing

Bank Accounts and Continue Use of Existing Cash Management System, (B) Continue Use of

Existing Business Forms, and (C) Continue Existing Investment Practices (the “Motion”). In

support of this Motion, the Debtors respectfully represent as follows:

                                JURISDICTION AND VENUE

         1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

Venue of this proceeding is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.



1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: (i) Ei LLC (6099); (ii) Product Quest Manufacturing, LLC (4401);
    (iii) Scherer Labs International, LLC (5258); (iv) Product Quest Logistics, LLC (6199); (v)
    JBTRS, L.L.C. (1249); and (vi) PQ Real Estate LLC (4569). The Debtors’ service address is:
    2865 N. Cannon Blvd., Kannapolis, North Carolina 28083.
                 Case 18-50946        Doc 9    Filed 09/07/18      Page 2 of 20



       2.      The statutory predicates for the relief requested herein are sections 105, 345, 1107

and 1108 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy

Code”), Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure. The Debtors ask

that this Motion be heard at the same time as the other first day pleadings filed

contemporaneously herewith.

                                        BACKGROUND

       3.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition with the Court under chapter 11 of the Bankruptcy Code.

       4.      On the Petition Date, each Debtor filed a substantially similar motion with this

Court seeking to have its bankruptcy case jointly administered with the other Debtors’ cases

pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”).

       5.      The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Michael J. Musso in Support of First Day Motions and

Applications filed on the Petition Date and incorporated herein by reference.

       6.      The Debtors have continued in possession of their properties and have continued

to manage their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.

       7.      As of the date of this filing, no official committee of unsecured creditors has been

appointed in any of these cases, and no request has been made for the appointment of a trustee or

examiner.




                                                2
                  Case 18-50946       Doc 9    Filed 09/07/18    Page 3 of 20



                                     RELIEF REQUESTED

       8.      By this Motion, the Debtors seek an order pursuant to sections 105 and 345 of the

Bankruptcy Code authorizing them to (a) maintain their existing bank accounts and continue the

use of their existing cash management system, (b) continue the use of their existing business

forms, and (c) continue their existing investment practices.

       9.      In order to supervise the administration of chapter 11 cases, this Court’s local

rules and the U.S. Bankruptcy Administrator have established certain operating guidelines for

debtors-in-possession that operate their businesses. These guidelines require chapter 11 debtors,

among other things, (i) to close all existing bank accounts and open new debtor-in-possession

bank accounts, and (ii) to obtain business forms, including checks, that bear the designation

“debtor-in-possession,” the bankruptcy case number, and the type of account for each debtor-in-

possession account. These requirements are designed to provide a clear line of demarcation

between pre-petition and post-petition transactions and operations and to prevent the inadvertent

post-petition payment of pre-petition claims through the payment of checks drawn prior to the

filing of the bankruptcy petition.

       10.     As more fully set forth below, to avoid disruption of the day-to-day operations of

the Debtors and to ensure an orderly transition into chapter 11, the Debtors respectfully request

an order: (a) authorizing them to continue to maintain their existing bank accounts and to

continue use of their existing cash management system; and (b) authorizing them to continue to

utilize their existing business forms, including checks. Finally, the Debtors seek a waiver of the

deposit guidelines set forth in section 345(b) to the extent necessary to allow the Debtors to

maintain their bank accounts.




                                                 3
                 Case 18-50946       Doc 9     Filed 09/07/18    Page 4 of 20



                                     BASIS FOR RELIEF

A.     Continued Use of Existing Bank Accounts, Cash Management System, and Existing
       Business Forms

       11.     As described in greater detail in the First Day Declaration, the Debtors’

operations are divided into two geographic and corporate segments: (i) the manufacturing facility

and related assets in Florida (the “Florida Segment”) and (ii) the manufacturing facility and

related assets in North Carolina (the “North Carolina Segment”). The Florida Segment and the

North Carolina Segment provide manufacturing services to a handful of “cross-over” clients.

The Segments also share coverage under a number of Debtor insurance policies and prior to the

Petition Date, certain Debtor employees worked for both the Florida and North Carolina

Segments. The Debtors use a consolidated cash management system, which is described on

Exhibit A-1. Importantly, each and every deposit, payment and other transfer made pursuant to

the Debtors’ cash management practices is documented and accounted for on a per Segment

basis. The existing cash management practices are integral to the stability and efficiency of the

Debtors’ operations, as they ensure Debtor receivables are easily collected and the Debtors’

operating expenses are timely satisfied in a way that minimizes the Debtors’ administrative costs.

The loss or even interruption of the cash management practices would be detrimental to the

Debtors.

       12.     As described more fully below, prior to the commencement of these chapter 11

cases, the Debtors maintained seven bank accounts at one bank, a schedule of which is attached

hereto as Exhibit A-2. The Debtors’ primary cash management bank is Bank of America, N.A.

(“BoA”). The Debtors maintain all of their accounts with BoA through which substantially all of

their collections are deposited and disbursements are made. The Debtors’ cash management

system operates as follows:



                                                4
                  Case 18-50946       Doc 9     Filed 09/07/18     Page 5 of 20



                   (a) The Debtors collect receipts primarily through (1) wires and ACH’s
                       deposited into a BoA operating master account (the “Operating Master
                       Account”); (2) checks received at their facility in Florida; and (3) checks
                       received at their facility in North Carolina. The Debtors’ incoming
                       receipts are all deposited into the Operating Master Account. The
                       Operating Master Account is subject to a deposit account control
                       agreement, dated as of November 6, 2015, among Product Quest
                       Manufacturing, LLC, and Madison Capital Funding LLC, as
                       administrative agent on behalf of itself and certain lenders and Bank of
                       America, N.A. (the “Operating Account Control Agreement”). The
                       Operating Account Control Agreement permits the Company to freely
                       access the funds in this account until the Agent notifies BoA otherwise.
                   (b) The Operating Master Account funds three disbursement accounts: a
                       payroll account shared by the Debtors (the “Payroll Account”) and two
                       general disbursements accounts – one for PQM (the “PQM Disbursement
                       Account”) and one for EI (the “EI Disbursement Account”, together with
                       the PQM Disbursement Account, the “Disbursement Accounts”). As
                       needed, Bank of America transfers funds from the Operating Master
                       Account to the Payroll Account and the Disbursements Accounts to cover
                       expected presentments. At all times, the Payroll Account and the
                       Disbursement Account maintain a zero balance.
                   (c) In addition to the three accounts described above, the Debtors maintain
                       three inactive accounts with BoA. Two of the accounts have not been
                       used by the Debtors in the past twelve months and one account, the
                       Debtors’ petty cash account (Acct. No. 487001618920), has not been used
                       in the past two months and holds a small balance.


       13.     Authorizing the Debtors to continue to use their existing bank accounts is

essential to a smooth and orderly transition of the Debtors into chapter 11. Moreover, having to

open new accounts as of the Petition Date would unnecessarily distract the Debtors’ key

accounting and financial personnel.

       14.     By permitting existing accounts to remain open, preserving continuity, and

avoiding the operational and administrative paralysis that closing the accounts and opening new

ones would necessarily entail, all parties-in-interest will be best served, and the Debtors’ estates

will benefit considerably.




                                                 5
                  Case 18-50946        Doc 9     Filed 09/07/18   Page 6 of 20



       15.     Finally, by virtue of the nature and scope of the Debtors’ businesses, the number

of accounts, and the number of employees, suppliers of goods and services, and others with

whom the Debtors transact business, it is imperative that the Debtors be permitted to continue to

use their existing business forms, including checks. A substantial amount of time and expense

would be required to print new business forms and stationery and would also likely result in a

substantial risk of disruption to the Debtors.

       16.     Relief similar to that requested herein has been granted by courts in other

substantial chapter 11 cases. See, e.g., In re Foamex Int’l. Inc., Case No. 05-12685 (Bankr. D.

Del. Sept. 21, 2005) (Walsh, J.); In re Meridian Auto. Systems-Composites Ops., Inc., No. 05-

11168 (Bankr. D. Del. Apr. 27, 2005) (Walrath, J.); In re SHC, Inc., Case No. 03-12002 (Bankr.

D. Del. July 2, 2003) (MFW); In re Grant Broad., Inc., 75 B.R. 819, 820 (E.D. Pa. 1987)

(referring to order authorizing use of cash collateral and pre-petition bank accounts); In re New

York City Shoes, Inc., 78 B.R. 426, 427 (Bankr. E.D. Pa. 1987) (debtor depositing post-petition

funds into pre-petition bank accounts).

       17.     Because of the severe disruption to the Debtors’ cash management system that

would result if the Debtors were forced to open new accounts, the Debtors believe it is extremely

important that this Court grant their request for maintaining their existing bank accounts and

business forms. The Debtors also ask for authorization to open, when necessary, additional

FDIC-insured bank accounts that will be subject to the requirements of this Order.

B.     Continued Use of Investment Practices

       18.     The Debtors also seek a waiver of the deposit guidelines set forth in section

345(b) to the extent necessary to allow the Debtors to maintain their bank accounts.

       19.     Section 345 of the Bankruptcy Code authorizes a debtor to invest cash and money

in a manner that will “yield the maximum reasonable net return on such money, taking into


                                                  6
                  Case 18-50946       Doc 9     Filed 09/07/18     Page 7 of 20



account the safety of such deposit or investment.” 11 U.S.C. § 345(a). Section 345(b) of the

Bankruptcy Code provides as follows:

       Except with respect to a deposit or investment that is insured or guaranteed by the
       United States or by a department, agency, or instrumentality of the United States
       or backed by the full faith and credit of the United States, the trustee shall require
       from an entity with which such money is deposited or invested—
              (1) a bond—
                      (A) in favor of the United States;
                      (B) secured by the undertaking of a corporate surety approved by
                      the United States trustee for the district in which the case is
                      pending; and
                      (C) conditioned on—
                              (i) a proper accounting for all money so deposited or
                              invested and for any return on such money;
                              (ii) prompt repayment of such money and return; and
                              (iii) faithful performance of duties as a depository; or
              (2) the deposit of securities of the kind specified in section 9303 of title
                  31; unless the court for cause orders otherwise.

       11 U.S.C. § 345(b).

       20.     Section 345 expressly provides that the Court may modify a debtor’s investment

requirements for “cause.” The Debtors submit that cause exists for allowing them to invest their

excess cash in accordance with their existing investment policies, without meeting the strict bond

requirements of section 345(b).

       21.     The Debtors submit that their practices generally conform with the intent of

section 345(b) to protect and maximize the value of their estates. The Debtors believe that their

existing investment procedures are designed to protect the principal invested while maximizing

liquidity and, therefore, believe that sufficient cause exists to waive the investment requirements

of section 345(b) to allow the Debtors to continue their existing investment procedures.

       22.     Courts have routinely granted requests to approve the continued use of deposit

guidelines that do not comply strictly with section 345. This is especially the case when, as here,

the manner of the proposed investments is safe and prudent. See, e.g., In re Service Merchandise



                                                 7
                   Case 18-50946        Doc 9     Filed 09/07/18   Page 8 of 20



Co., Inc., 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999) (enumerating factors to be considered in

waiving requirements of section 345, including size of business and safety of debtor’s proposed

investments).

        23.     Moreover, the Debtors believe that the bank the Debtors use is well-established

and invests the Debtors’ funds in accordance with their standard investment guidelines.

Requiring the Debtors to open multiple accounts at different banks so that the deposits in each

such bank would be insured by FDIC would be unnecessarily burdensome and would lead to the

same delays and disruption to the Debtors’ businesses that this Motion seeks to avoid.

        24.     The Debtors submit that given the totality of the circumstances, their request is

reasonable and cause exists for the Court to waive the requirements of section 345(b).

        25.     For the foregoing reasons, the Debtors believe that granting the relief requested

herein is appropriate and in the best interest of their estates.

        26.     To the extent the fourteen day stay of Bankruptcy Rule 6004(h) may be construed

to apply to the subject matter of this Motion, the Debtors request that such stay be waived.

                                               NOTICE

        27.     Notice of this Motion has been provided to the Office of the U.S. Bankruptcy

Administrator, counsel for the Debtors’ pre-petition secured lenders, Bank of America, N.A., the

Internal Revenue Service, and the Debtors’ thirty (30) largest unsecured creditors on a

consolidated basis. In light of the nature of the relief requested, the Debtors submit that no

further notice is necessary.




                                                   8
         Case 18-50946        Doc 9     Filed 09/07/18     Page 9 of 20




                                 CONCLUSION

WHEREFORE, the Debtors respectfully request that this Court:

(a)    enter an order in the form attached hereto as Exhibit B authorizing the Debtors to

       maintain their existing bank accounts and continue use of their existing cash

       management system, continue the use of their existing business forms, and

       continue their existing investment practices; and

(b)    grant the Debtors such other and further relief as is just and proper.

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                                         9
               Case 18-50946   Doc 9    Filed 09/07/18    Page 10 of 20




Dated: September 7, 2018               Respectfully submitted,

                                       NORTHEN BLUE LLP

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                                       PROPOSED COUNSEL FOR THE
                                       DEBTORS-IN-POSSESSION




                                         10
Case 18-50946   Doc 9   Filed 09/07/18   Page 11 of 20



                   EXHIBIT A-1

     Company Bank Accounts Cash Flow Diagram
Case 18-50946   Doc 9   Filed 09/07/18   Page 12 of 20




                         2
Case 18-50946     Doc 9   Filed 09/07/18    Page 13 of 20



                     EXHIBIT A-2

                Schedule of Bank Accounts
              Case 18-50946      Doc 9   Filed 09/07/18    Page 14 of 20




  ACCOUNT                                                 ACCOUNT           TYPE OF
                         ACCOUNT NAME
  HOLDER                                                  NUMBER           ACCOUNT
                  Product Quest Manufacturing LLC –
Bank of America                                        487004335747          Deposit
                  Depository Account Ei LLC Account
Bank of America    Product Quest Manufacturing LLC     487001618917        Disbursement
Bank of America                Ei LLC                  487004170973        Disbursement
                   Product Quest Manufacturing LLC
Bank of America                                        487001618933        ZBA - Payroll
                            Payroll Account
                   Product Quest Manufacturing LLC
Bank of America                                        487001618920          Inactive
                              Petty Cash
                   Product Quest Manufacturing LLC
Bank of America     DBA Skin Beautifying Research      487004173190          Inactive
                                 Labs
                  Scherer Labs International LLC DBA
Bank of America                                        487004173200          Inactive
                                SL Labs




                                           2
Case 18-50946   Doc 9   Filed 09/07/18   Page 15 of 20



                    EXHIBIT B

                  Proposed Order
                  Case 18-50946      Doc 9    Filed 09/07/18    Page 16 of 20




                       THE UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA
                             WINSTON-SALEM DIVISION


In re:                                              )      Chapter 11
                                                    )
Product Quest Manufacturing, LLC, et al.,1          )      Case No. 18-50946
                                                    )      (Joint Administration Pending)
                                                    )
                Debtors.                            )
                                                    )

       ORDER AUTHORIZING DEBTORS TO (A) MAINTAIN EXISTING BANK
    ACCOUNTS AND CONTINUE USE OF EXISTING CASH MANAGEMENT SYSTEM,
      (B) CONTINUE USE OF EXISTING BUSINESS FORMS, AND (C) CONTINUE
                     EXISTING INVESTMENT PRACTICES

         This matter is before the Court on the Expedited Motion For Authority to (A) Maintain

Existing Bank Accounts and Continue Use of Existing Cash Management System, (B) Continue

Use of Existing Business Forms, and (C) Continue Existing Investment Practices (the “Motion”)

of Ei LLC (“EI”), Product Quest Manufacturing, LLC (“PQM”), Scherer Labs International,

LLC (“Scherer”), Product Quest Logistics, LLC (“PQL”), JBTRS, L.L.C. (“JBTRS”), and PQ


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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: (i) Ei LLC (6099); (ii) Product Quest Manufacturing, LLC (4401);
    (iii) Scherer Labs International, LLC (5258); (iv) Product Quest Logistics, LLC (6199); (v)
    JBTRS, L.L.C. (1249); and (vi) PQ Real Estate LLC (4569). The Debtors’ service address is:
    2865 N. Cannon Blvd., Kannapolis, North Carolina 28083.
                  Case 18-50946       Doc 9    Filed 09/07/18      Page 17 of 20



Real Estate LLC (“PQ Real Estate”, together with EI, PQM, Scherer, PQL, and JBTRS,

collectively, the “Debtors”). All capitalized terms used but not defined herein shall have the

meanings given to them in the Motion.

        The Court has considered the Motion, the Declaration of Michael M. Musso in Support of

First Day Applications and Motions, and the matters reflected in the record of the hearing held

on the Motion on September ___, 2018. It appears that the Court has jurisdiction over this

proceeding; that this is a core proceeding; that notice of the Motion has been given to the Office

of the United States Bankruptcy Administrator, counsel for the Debtors’ pre-petition secured

lenders, counsel to the Debtors’ proposed debtor-in-possession lender, the Internal Revenue

Service, the Debtors’ thirty (30) largest unsecured creditors on a consolidated basis, and Bank of

America, N.A.; that no further notice is necessary; that the relief sought in the Motion is in the

best interests of the Debtors, their estates, and their creditors; and that good and sufficient cause

exists for such relief.

        Accordingly, it is hereby ORDERED as follows:

        1.      The Motion is GRANTED.

        2.      The Debtors are authorized to: (a) designate, maintain, and continue to use any

and all existing bank accounts with the same account numbers, including, without limitation, the

accounts identified in Exhibit A to the Motion; (b) treat the bank accounts for all purposes as

accounts of the Debtors as debtors-in-possession; and (c) continue to use their existing cash

management system.

        3.      Bank of America, N.A. (the “Bank”) is authorized to continue to service and

administer the applicable bank accounts as accounts of the Debtors as debtors-in-possession

without interruption and in the usual and ordinary course, and to receive, process, honor, and pay




                                                 2
                  Case 18-50946      Doc 9    Filed 09/07/18     Page 18 of 20



any and all checks, drafts, wires, or automated clearinghouse transfers (“ACH Transfers”) drawn

on the bank accounts after the Petition Date by holders or makers thereof, as the case may be. In

the course of providing cash management services to the Debtors, the Bank is authorized,

without further order of this Court, to deduct from the appropriate accounts of the Debtors their

customary fees and expenses associated with the nature of the deposit and cash management

services rendered to the Debtors, whether arising pre-petition or post-petition, and further, to

charge back to the appropriate accounts of the Debtors any amounts resulting from returned

checks or other returned items, regardless of whether such items were deposited pre-petition or

post-petition and regardless of whether the returned items related to pre-petition or post-petition

items; provided, however, that, in addition to the requirements thereof, any checks, drafts, wires,

or ACH Transfers drawn or issued by the Debtors before the Petition Date shall be timely

honored by the Bank to the extent necessary to comply with any order of this Court authorizing

payment of certain pre-petition claims, subject to the availability of funds, unless the Bank is

instructed by the Debtors to stop payment on or otherwise dishonor such check, draft, wire, or

ACH Transfer.

       4.       Notwithstanding anything to the contrary in any other order in this case entered

contemporaneously with this Order, the Bank: (a) is authorized to accept and honor all

representations from the Debtors as to which checks, drafts, wires, or ACH Transfers should be

honored or dishonored consistent with any order(s) of this Court, whether the checks, drafts,

wires, or ACH Transfers are dated prior to, on, or subsequent to the Petition Date and whether or

not the Bank believes the payment is or is not authorized by any order(s) of the Court; (b) has no

duty to inquire as to whether such payments are authorized by any order(s) of the Court; and

(c) has no liability to any party on account of the Debtors’ instructions in accordance with this




                                                3
                 Case 18-50946        Doc 9    Filed 09/07/18      Page 19 of 20



Order or for honoring a pre-petition check or other item as the result of an innocent mistake

made despite implementation of customary item handling procedures.

       5.      Nothing contained herein shall prevent the Debtors from opening any additional

bank accounts or closing any existing bank account(s) as it may deem necessary and appropriate,

and the Bank is authorized to honor the Debtors’ request to open or close, as the case may be,

such bank accounts or additional bank accounts; provided, however, that any new account shall

be with a bank that is insured with the Federal Deposit Insurance Corporation and that is

organized under the laws of the United States or any State thereof.

       6.      Any and all accounts opened by the Debtors on or after the Petition Date at any

Bank shall, for all purposes under this Order, similarly be subject to the rights and obligations of

this Order.

       7.      The Debtors and the Bank are hereby authorized to continue to perform pursuant

to the terms of any pre-petition agreements that may exist between them, except and to the extent

otherwise directed by the terms of this Order. The parties to such agreements shall continue to

enjoy the rights and remedies afforded to them under such agreements, except to the extent

modified by the terms of this Order or by operation of the Bankruptcy Code.

       8.      The Debtors are authorized to continue to use their existing business forms and

stationery without alteration or change.

       9.      The Debtors are authorized to continue their current investment practices as

described in the Motion. The Debtors are not required to obtain a bond from the Bank pursuant

to section 345(b) of the Bankruptcy Code.

       10.     Neither this Order, nor the Debtors’ payment of any amounts authorized by this

Order, shall: (i) result in any assumption of any executory contract by the Debtors; (ii) result in a




                                                 4
                 Case 18-50946        Doc 9     Filed 09/07/18      Page 20 of 20



commitment to continue any plan, program, or policy of the Debtors; or (iii) impose any

administrative, pre-petition, or post-petition liabilities upon the Debtors.

       11.     To the extent the fourteen day stay of Bankruptcy Rule 6004(h) may be construed

to apply to the subject matter of this Order, such stay is hereby waived.

       12.     The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

       13.     Counsel for the Debtors is directed to serve a copy of this Order on all parties on

the Master Service List and the Bank within three (3) days of the entry of this Order and to file a

certificate of service with the Clerk of the Court.

                                     [END OF DOCUMENT]




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